         Case 4:18-cv-00237-RH-EMT Document 66 Filed 11/05/19 Page 1 of 1
                                                                                Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WILBERT HURST,

                  Plaintiff,

v.                                              CASE NO. 4:18cv237-RH-CAS

CENTURION OF FLORIDA et al.,

          Defendants.
____________________________/

                            ORDER DENYING MOTION TO DISMISS

         This case is before the court on the magistrate judge’s report and

recommendation, ECF No. 356. No objections have been filed. Upon

consideration,

         IT IS ORDERED:

         1. The report and recommendation is accepted and adopted as the court’s

opinion.

         2. The defendant Dr. Francis Ong’s motion to dismiss, ECF No. 47, is

denied.

         3. The case is remanded to the magistrate judge for further proceedings.

         SO ORDERED on November 5, 2019.

                                         s/Robert L. Hinkle
                                         United States District Judge



Case No. 4:18cv237-RH-CAS
